                     Case UNITED
                          18-21584-RBR DocBANKRUPTCY
                                   STATES  37 Filed 05/29/19 Page 1 of 2
                                                           COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                                        CASE NO.: 18-21584-BKC-RBR
                                                                     PROCEEDING UNDER CHAPTER 13

IN RE:

CHRISTOPHER DIAZ
XXX-XX-1551
ANGELINA L ZAMORA
XXX-XX-7025

DEBTORS
_____________________________/

                    OBJECTION TO CLAIM AND CERTIFICATE OF SERVICE
                            OF COURT GENERATED HEARING

                              IMPORTANT NOTICE TO CREDITORS:
                             THIS IS AN OBJECTION TO YOUR CLAIM

       This objection seeks to either disallow or reduce the amount or change the priority status of the
claim filed by you or on your behalf. Please read this objection carefully to identify which claim is
objected to and what disposition of your claim is recommended.

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the Trustee objects to the
following claim filed in this case:

Claim#:        6.2
Claimant: Toyota Motor Credit Corp
Reason:        Proof of Claim filed after the Claims Bar Date. Since the claim is an attempt to change the
status from secured to unsecured, it is not an amendment but instead considered a new claim.
Disposition: Sustain Objection and disallow claim.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Objection to Claim and
Certificate of Service of Court Generated Notice of Hearing was served, via U.S. first class mail, certified
mail and/or CM/ECF, upon the parties listed below this 29th day of May, 2019.

                                                                   /s/ Robin R. Weiner
                                                               _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154


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                   Case 18-21584-RBR   Doc 37   Filed 05/29/19   Page 2 of 2 OBJECTION TO CLAIM
                                                                      CASE NO.: 18-21584-BKC-RBR



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